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                           EXHIBIT Q
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 This Listings Feed Agreement (this “Agreement”) is made and entered into as of the latter of the two
  dates provided in the signature block below (the “Eﬀective Date”) by and between Zillow, Inc.,
 together                 with i ts                   Aﬃliates                    as    deﬁned       below, ( collectively,         “Zillow”) and
 ______________________________
eX p R e a l t y , I n c . , t o g e t h e r w i t h i t s A f f i l i a t e s (“Provider”) (each a “Party,” collectively, the “Parties”).


 4*'1'#2, Zillow operates online real estate services that enable consumers to search for real estate
 information about properties and enables real estate professionals to market themselves more
 eﬀectively;

 4*'1'#2, Provider owns or has rights to a database that includes data, photographs, media and other
 information and content about properties for sale or rent, in all statuses, including but not limited to
 pre-active, deferred marketing such as “Coming Soon,” “Delayed Marketing Listings" and other
 oﬀ-market statuses (the “Listings Data”); and

 4*'1'#2, subject to the terms of this Agreement, Provider agrees to provide Zillow with the Listings
 Data and Zillow agrees to use the Listings Data only as permitted herein.

 ./4 3*'1'(/1'; in consideration of the mutual covenants contained in this Agreement, and for other
 good and valuable consideration, the receipt and suﬃciency of which are hereby acknowledged, the
 Parties agree as follows:

 1.        #99;HH IE ,@HI@D>H &7I7 7D: ,@C@I;: ,@9;DH;T

      a. )G7DI E< ,@9;DH;. Provider grants to Zillow a non-exclusive, perpetual, worldwide, royalty-free
         license and right (but not the obligation) to access, use, reproduce, distribute, publicly display,
         and create derivatives and derivative works of the Listings Data, in each case on and in
         connection with the operation, marketing and promotion of the websites, mobile apps and other
         properties owned, operated or powered by Zillow (collectively, the “Zillow Sites”) and in
         business-to-business products and services provided by Zillow to licensed real estate agents and
         their partners (e.g., photographers), including but not limited to ShowingTime, dotloop, Follow-Up
         Boss and Ayreo (collectively, the “Zillow Products”), including without limitation to improve the
         Zillow Sites and Zillow Products. Notwithstanding any of the above, for non-publicly marketed
         listings Provider provides to Zillow pursuant to section 2(b) of this Agreement, Zillow shall not
         display such Listings Data on the Zillow Sites unless otherwise mutually agreed to in writing. This
         license is perpetual, but subject to termination as described in Section 8 of this Agreement.
         Provider represents and warrants that Provider is legally entitled to grant this license and that by
         granting Zillow the license, Provider is not violating any law, breaching any contract, or infringing
         the rights of any person or entity.

      b. &7I7 #99;HH 2F;9@P97I@EDH. Provider will make the Listings Data available to Zillow in
         compliance with the speciﬁcations described in Exhibit A. The Listings Data made available to
         Zillow shall be as complete and as current as the data that Provider makes available on Provider’s
         website or any third party’s online display of real estate listings, as further detailed in Exhibit A.

      c. &7I7 &@HFB7N 2F;9@P97I@EDH. Zillow will display the Listings Data on the Zillow Sites in
         accordance with Zillow's standard display speciﬁcations applicable to for sale listings sourced
         from MLSs and other third parties, unless otherwise agreed to separately in writing by both
                                                                                                                              BLFA-EXP-032525
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        Parties. In the event Zillow receives Provider’s listings from more than one source, Zillow will
        display the listing data that Zillow deems to be the most accurate and up to date, at Zillow’s sole
        discretion.

     d. &7I7 0GEI;9I@ED. Zillow shall employ commercially reasonable measures to prevent third parties
        from unauthorized access and use of the Listings Data through data mining, scraping or similar
        means.

2.      0GEK@:;G $;D;PIH 7D: 6@BBEL ,@HI@D> #99;HH 2I7D:7G:HT

     a. 0GEK@:;G $;D;PIH. Provider shall receive preferential pricing for the products and services
        outlined in Exhibit B (the “Zillow Services”) for a period of up to three (3) years. The speciﬁc
        products and services, pricing details, and terms of access shall be deﬁned in Exhibit B, which
        may be updated by Zillow from time to time. Preferential pricing shall apply only to Provider and
        shall not be transferrable to any third party. For clarity, nothing in this Section shall obligate
        Provider to purchase the Zillow Services, and any such purchases shall be subject to separate
        agreements between Zillow and Provider.

     b. 6@BBEL ,@HI@D> #99;HH 2I7D:7G:H. Provider agrees to comply with Zillow’s Listing Access
        Standards set forth in Exhibit C (the “Listing Access Standards”) and the requirement to make all
        non-publicly marketed listings (as deﬁned in Exhibit C) available to Zillow. Continued provision of
        Listings Data shall constitute acceptance of the Listing Access Standards as may be updated by
        Zillow from time to time. Zillow reserves the right to suspend or terminate Provider’s access to
        the Provider Beneﬁts outlined in this Agreement if Provider does not comply with the Listing
        Access Standards.

     c. 6@BBEL 1;FEGI@D> #0+T Zillow will provide the Provider with Zillow’s Reporting API, which includes
        the listing ID/MLS#, listing address, agent ID, agent name, impressions and views for Providers’
        listings. Provider’s use of the Zillow Reporting API shall comply with the API Terms of Use here:
        https://bridgedataoutput.com/zillowterms. Where the terms of this Agreement and the API Terms
        of Use conﬂict, this Agreement shall control. Zillow, in its sole discretion, may update the API
        from time to time.

3.       .E /O;GH E< $JN;G #>;DI %ECF;DH7I@EDT Provider will not advertise or otherwise communicate
oﬀers of buyer agent compensation (including an amount, percentage, or that buyer agent compensation
is oﬀered at all) in the Listings Data, irrespective of whether such oﬀer of compensation is connected to
any speciﬁc property. Zillow may remove any listing which includes an oﬀer of compensation in any of
the Listing Data, including but not limited to the photographs, listing descriptions, comments or notes.

4.      %EDP:;DI@7B@INT For the purposes of this Agreement, "Conﬁdential Information" will mean
information about the disclosing Party's business or activities that is proprietary and conﬁdential
including, without limitation, the terms of this Agreement and all business, ﬁnancial, technical, strategic,
and other information of a Party, which, by its nature or due to the circumstances surrounding its
disclosure, ought in good faith to be treated as conﬁdential and/or information that the disclosing Party
designates as being conﬁdential to the disclosing Party. Conﬁdential Information will not include
information that (a) is generally available to the public through no improper action or inaction of the
receiving Party or its Representatives (as deﬁned below), (b) the receiving Party rightfully receives from a
third party without restriction on disclosure and without having a reasonable belief that the third party
breached a nondisclosure obligation, (c) was known to the receiving Party without conﬁdentiality



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restrictions at the time of its receipt from the disclosing Party, or (d) has been independently developed
by the receiving Party or its Representatives without access to or use of the Conﬁdential Information.
Each Party agrees (y) that it will not use, or disclose to any third party, any Conﬁdential Information
disclosed to it by the other Party for any purpose except as expressly permitted in this Agreement, and
(z) it will at all times protect and safeguard such Conﬁdential Information from unauthorized access, use
or disclosure to others, using at least the same degree of care used to protect its own conﬁdential or
proprietary information of like importance, but in any case using no less than a reasonable degree of
care. Notwithstanding the foregoing, each Party may disclose Conﬁdential Information (i) to its
employees, directors, aﬃliates, advisors, agents, independent contractors and consultants (together,
"Representatives") on a need-to-know basis, provided that the receiving Party has enforceable
agreements or policies with each of such Representatives suﬃcient to enable compliance by the
receiving Party with all the provisions of this Agreement and requiring such Representative, for the
beneﬁt of the disclosing Party, to maintain the conﬁdence of the disclosing Party's Conﬁdential
Information as provided in this Agreement, or (ii) in accordance with a judicial or other governmental
order, requirement or request, provided the receiving Party will, if permitted by law, provide the
disclosing Party reasonable opportunity to seek a protective order, or obtain written assurance from the
applicable judicial or governmental entity that will aﬀord the Conﬁdential Information of the other Party
the highest level of protection aﬀorded under applicable law or regulation. The receiving Party will only
disclose the part of the Conﬁdential Information as is required by law to be disclosed. The receiving Party
will be responsible for any failure by any of its Representatives to comply with any of the terms of this
Agreement, and the receiving Party agrees, at its sole expense, to restrain its Representatives from the
disclosure or use of the disclosing Party's Conﬁdential Information to the extent prohibited or
unauthorized by this Agreement.

5.      1;FG;H;DI7I@EDH 7D: 47GG7DI@;HT Each Party represents and warrants that: (a) it has full corporate
power and authority to execute, deliver and perform its obligations under this Agreement (including,
without limitation, to grant the rights provided herein); (b) the rights that it grants under this Agreement
do not violate any contracts to which it is a party; and (c) it will comply with all applicable laws, rules and
regulations in the course of performing its obligations under this Agreement. Provider further represents
and warrants that to the best of Provider’s knowledge: (y) Zillow's use of the Listings Data as permitted
under this Agreement and exercise of the rights granted hereunder will not violate or infringe the
intellectual property rights or any other rights of a third party; and (z) the Listings Data is accurate and
complete. If Provider discovers any violation of the warranties above, Provider will immediately notify
Zillow at feeds@zillow.com.

6.       +D:;CD@IN. Each Party (“Indemnifying Party”), at its sole expense, will defend, indemnify and hold
the other Party and its directors, oﬃcers, employees, contractors, agents, successors and assigns
(collectively, “Indemniﬁed Party”) harmless from and against any damages, liabilities, losses, costs and
expenses (including, but not limited to, reasonable attorney fees and costs) (collectively, “Losses”)
resulting from any claim, suit, action, or proceeding brought by a third party against any Indemniﬁed
Party resulting from or arising in connection with the party’s breach of Section 5 of this Agreement.
Further, Zillow, at its sole expense, will defend, indemnify and hold Provider and its directors, oﬃcers,
employees, contractors, agents, successors and assigns harmless from and against any Losses resulting
from any claim, suit, action, or proceeding brought by a third party against Provider that claims a Zillow
product or service that incorporates the Listings Data infringes upon such third party’s patent (excluding
claims that arise from: the use of Zillow’s products or services in a modiﬁed, unauthorized or unintended
manner, the combination of Zillow’s products or services with materials not furnished by Zillow if there
would not have been patent infringement but for such combination, or the Listings Data itself infringing a


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patent). The Indemnifying Party’s indemniﬁcation obligations under this Section are conditioned upon the
Indemniﬁed Party: (a) giving prompt notice of the claim to the Indemnifying Party once the Indemniﬁed
Party becomes aware of the claim; (b) granting sole control of the defense and settlement of the claim to
the Indemnifying Party (except that the Indemniﬁed Party’s prior written approval will be required for any
settlement that imposes any liability or obligation other than the payment of money damages for which
the Indemnifying Party has accepted responsibility); and (c) providing reasonable cooperation to the
Indemnifying Party and, at the Indemnifying Party’s request and expense, assistance in the defense or
settlement of the claim. Notwithstanding any terms to the contrary in this Agreement, the failure to give
notice to the Indemnifying Party within a reasonable time of the commencement of any claim under this
Section will relieve the Indemnifying Party of any liability to the Indemniﬁed Party under this Section, only
to the extent that such failure materially prejudices the Indemnifying Party’s ability to defend such claim.

7.     ,@C@I7I@ED E< ,@78@B@INZ'M9BJH@ED E< 47GG7DI@;HT EXCEPT AS PROVIDED ABOVE, NEITHER PARTY
MAKES ANY REPRESENTATIONS OR WARRANTIES REGARDING THE SUBJECT MATTER OF THIS
AGREEMENT AND EXPRESSLY DISCLAIMS ALL REPRESENTATIONS AND WARRANTIES, EXPRESS OR
IMPLIED. EXCEPT AS PROVIDED ABOVE, THE LISTINGS DATA AND THE ZILLOW SERVICES ARE
PROVIDED “AS IS” WITHOUT WARRANTY OF ANY KIND AND PROVIDER DISCLAIMS ALL WARRANTIES,
EXPRESS OR IMPLIED, INCLUDING ANY WARRANTY THAT THE LISTINGS DATA OR ZILLOW SERVICES
ARE ERROR FREE. EACH PARTY’S SOLE REMEDIES AGAINST THE OTHER PARTY FOR BREACH
HEREUNDER SHALL BE TERMINATION OF THIS AGREEMENT, INDEMNIFICATION (AS PROVIDED IN
SECTION 5) AND DIRECT DAMAGES. EACH PARTY’S MONETARY OBLIGATIONS WITH RESPECT TO
INDEMNIFICATION AND DIRECT DAMAGES SHALL BE CAPPED AT TEN THOUSAND DOLLARS
($10,000).

8.      3;GC 7D: 3;GC@D7I@EDT This Agreement shall have a three (3) year initial term. After the initial
term, the Agreement will automatically renew for one (1) year terms, unless earlier terminated as provided
below. Either Party may terminate this Agreement upon written notice to the other party at least one
hundred eighty (180) days prior to the expiration of the then current contract term. Either Party may
terminate this Agreement upon thirty (30) days’ written notice to the other Party in the event the other
Party materially breaches this Agreement and fails to cure such breach within the notice period. Provider
may terminate this Agreement, upon at least sixty (60) days prior written notice to Zillow, in the event that
either (a) Zillow operates a private multi-brokerage listing sharing network with for-sale listings not made
publicly available or (b) Zillow represents buyers and/or sellers in more than one thousand (1,000)
transactions per year in which Zillow is the sole brokerage in an exclusive listing or buyer agreement, but
neither event shall be deemed a breach of this Agreement by either Party. Zillow may terminate this
Agreement, upon at least sixty (60) days prior written notice to Provider, if more than three percent (3%)
of Provider’s total listings are not publicly marketed, as deﬁned in Exhibit C below, for more than thirty
(30) days, consecutively or otherwise, during any six (6) month period, but such event shall not be
deemed a breach of this Agreement. Upon termination, Zillow will remove the Listings Data received
under this agreement from the Zillow Sites and Zillow Products within ﬁve (5) business days after
receiving notice from Provider to do so, except that Zillow will retain a nonexclusive, royalty-free,
perpetual license to use, copy, distribute, publicly display and perform, and create derivatives and
derivative works of the Listings Data as described in Exhibit D, only as permitted by this Agreement.
Zillow will retain ownership of derivatives and derivative works created hereunder.

9.     2JGK@K7BT Sections 4, 5, 6, 7, 8, 9, and 12 shall survive the termination of this Agreement for any
reason. In addition, following the termination of this Agreement, Zillow may continue to use (as




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permitted prior to termination) the Listings Data previously available to Zillow, and Zillow will retain
ownership of derivatives and derivative works created hereunder.

10.     &;PD@I@ED E< #QB@7I;T As used herein, “Aﬃliate” means, with respect to a Party, any entity that
directly or indirectly controls, is controlled by, or is under common control with such Party. For purposes
of this deﬁnition “control” means ownership of more than 50% of the voting interests or other managing
authority of the subject entity. For avoidance of doubt, Aﬃliate will not include any equity holder of the
company.

11.     0J8B@9 1@>?IH EG #DDEJD9;C;DIH Notwithstanding anything herein to the contrary, neither Party
will publicize or disclose the existence or terms of this Agreement to any third party without the prior
written consent of the other, except as may be required by law. In particular, no press releases will be
made and neither Party will use the other Party’s name, logos or trademarks in any publicity, advertising
or marketing without the other Party’s prior written consent. If a Party grants consent pursuant to this
section, such Party’s will have the right to review and approve in advance, in its sole discretion, the use
and the speciﬁc form and content of such use, and reserves the right to revoke such consent at any time.
Any use of such granting Party’s name, logos or trademarks must immediately cease upon request by
the granting Party.

12.      );D;G7BT This Agreement, including exhibits and/or attachments attached hereto, sets forth the
entire understanding and agreement between the Parties relating to the subject matter hereof and
supersedes all prior agreements and understandings, both oral and written, between the Parties with
respect to the subject matter of this Agreement. In the event of any conﬂict between the terms and
conditions of this Agreement and the terms and conditions of any exhibit, the terms and conditions of the
exhibit will govern. The Agreement may only be amended, modiﬁed, or supplemented by an agreement
in writing signed by each Party hereto. Notwithstanding the foregoing, modiﬁcations to this Agreement
relating to minor or routine operational updates may be made without a duly signed writing. The Parties
are independent contractors and neither Party will have any right or authority to bind the other Party in
any respect whatsoever. This Agreement may not be assigned by either Party without the other Party’s
prior written consent, which consent will not be unreasonably withheld or delayed. Notwithstanding the
foregoing, this Agreement may be assigned by Zillow to its successor-in-interest in connection with: (i) a
merger, consolidation or similar corporate transaction; or (ii) a sale of all or substantially all of its assets or
sale of the portion of its assets to which this Agreement pertains. Any notice or communication required
or permitted to be given hereunder must be in writing and may be delivered by conﬁrmed email or
mailed by registered or certiﬁed mail to the address of the receiving Party as identiﬁed below or at such
other address provided in writing by either Party to the other Party. Such notice will be deemed to have
been given as of the date it is delivered. The Parties agree that this Agreement shall be governed by the
laws of the State of Washington and that jurisdiction and venue for any disputes shall be resolved in the
state or federal courts in the county in which the non-complaining party maintains its headquarters. If any
provision of this Agreement is invalid, illegal, or incapable of being enforced by any rule of law or public
policy, all other provisions of this Agreement will nonetheless remain in full force and eﬀect.




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IN WITNESS WHEREOF, the parties have executed and delivered this Agreement as of the Eﬀective
Date.



                                                       Leo Pareja
                                                      Leo Pareja (Apr 9, 2025 10:43 EDT)


            (Signature)                                                                    (Signature)

Print Name: Errol Samuelson                           Print Name: Leo Pareja
Title: Chief Industry Development Oﬃcer               Title: CEO
Date:                                                 Date: April 4, 2025

Notices:
Zillow Group, Inc.                                      eXp Realty, Inc.
1301 Second Avenue, Floor 31                            ATTN: Legal Operations
Seattle, WA 98101                                       2219 Rimland Drive, Suite 301
Attn: Errol Samuelson                                   Bellingham, WA 98226-8759
Email: errol@zillowgroup.com                            E-mail: Legal@exprealty.net
Copy to “Zillow Legal” at the same physical address
Email: legal@zillow.com




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(1)      &;B@K;GN E< ,@HI@D>H &7I7:
 The Parties will determine a mutually agreeable way for Provider to deliver the Listings Data to Zillow..
Provider may grant Zillow access to a data server that delivers the Listings Data via the Real Estate
Transaction Standard (“RETS”) version 1.5 or higher. Zillow will facilitate the acquisition of the Listings
Data and the transfer of the Listings Data to Zillow. Provider will provide Zillow with updates to the
Listings Data at least every ﬁfteen (15) minutes and will not take, nor allow any third party to take, any
actions to intentionally degrade or delay the Listings Data in any manner. Zillow will make a
commercially reasonable eﬀort to update the Listings Data with the updated Listings Data provided by
Provider at least on a daily basis, seven (7) days per week.

In the event Zillow receives Provider’s listings from other sources, Provider hereby instructs Zillow to
display the listing data received by Zillow that Zillow deems to be the most accurate, complete and up to
date, at Zillow’s sole discretion.

(2)     ,@HI@D>H &7I7 2F;9@P97I@EDH:
Provider will use best eﬀorts to include in the Listings Data all ﬁelds that Provider allows for public-facing
consumer searches and display, including, but not limited to, bed, bath, square footage, lot, conﬁrmed
address and property descriptions. In addition, all information ﬁelds, including, but not limited to, open
house data, photographs, documents, renderings, links to virtual tours or other web services and
resources associated with the Listings Data that Provider, or any aﬃliated brokerage, franchisor, or other
entity acting on Provider’s behalf, or any other third party, is permitted to use or publish via the Internet
or other electronic delivery system shall be provided to Zillow under this Agreement. Listings Data
provided to Zillow by Provider shall be limited to data which Provider and/or the broker participant
members of Provider have authorized for use by Zillow as provided under this Agreement.

Listings Data provided to Zillow must comply with Zillow’s Listing Quality Policy and Good Neighbor
Policy.


R"S      0?EIEHU
Except for property listings for vacant lots and land properties, Provider will include in the Listings Data a
minimum of 15 photos per listing, or the same number of photos that Provider makes available on its own
website, whichever is greater. Each photo included in the Listings Data will have a minimum resolution of
1024 x 768 pixels. The photos provided in the Listings Data will not include listing agent, broker or
Provider branding, including without limitation, an agent name, company or brokerage name, logo,
for-sale yard sign, phone number, and/or email address, whether as text, a watermark, or otherwise on
listing photos, unless otherwise agreed to in writing by the Parties. Zillow reserves the right to remove
such branding from the photos. In addition, where available, Provider will include other media assets in
the Listings Data, such as 3D tours, video walkthroughs, ﬂoor plans, or similar multimedia content that is
made available on Provider’s own website or marketing platforms, or any aﬃliated brokerage, franchisor,
or other entity acting on Provider’s behalf.




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                                 6@BBEL 2;GK@9;H

"   Follow Up Boss Plan




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Welcome and thank you for your interest in Zillow. By using Zillow’s services, including but not limited to
our online display of properties listed for sale, whether such listings are delivered to us by the listing
agent or any authorized third party, directly or through a data feed (collectively, the “Services”), you
acknowledge and agree to the following Listing Access Standards (“Standards”), as may be updated or
modiﬁed at any time:

   1.   0JGFEH;. The purpose of these Standards is to support Zillow’s belief that consumers and agents
        deserve fair and transparent access to all real estate information and to provide sellers with
        informed choice on how their listings will be marketed. For more information, visit
        https://advocacy.zillowgroup.com/.

   2. 29EF;. These Standards apply to real estate brokerages and their licensed agents, utilizing the
      Services and the Zillow Sites (as deﬁned below).

   3. -7GA;I@D> ,@HI@D>H. Within one (1) calendar day of publicly marketing any property that is subject
      to an exclusive agreement to list the property for sale (“Listing”), the listing agent must (a) place
        the Listing in a Multiple Listing Service, (“MLS”) for distribution to other MLS participants'
        websites, including but not limited to the Zillow.com website and mobile apps and the Trulia.com
        website and mobile apps (collectively, the “Zillow Sites”), (b) directly submit the Listing for display
        on the Zillow Sites through our listing creation service, if available, and/or (c) make the Listing
        available for display on the Zillow Sites through a syndication feed (e.g., broker data feeds,
        StreetEasy syndication feed, OutEast syndication feed). For purposes of these Standards, an
        MLS is a centralized database, whether or not aﬃliated with the National Association of Realtors®
        (“NAR”), through which cooperating real estate professionals from diﬀerent brokerages share
        information about properties for sale in a particular geographic region.

   4. &;PD@I@ED E< W0J8B@9 -7GA;I@D>X.
         a. For the purposes of these Standards, “public marketing” means (a) promoting, marketing,
             or advertising a Listing in any manner, including without limitation, ﬂyers, yard signs, social
             media, public-facing websites or apps, e-mails, mailers, newspapers, open houses,
             previews, showings, multi-brokerage listing sharing networks, virtual tours, and single
             brokerage private listing networks to extent such listing network is also accessible to
             consumers, including those accessible to the general public or a Brokerage’s clients
             behind a registration wall or (b) sending and/or transmitting a Listing, regardless of status,
             to an MLS, unless seller opts out of the display of the Listing everywhere on the internet
             due to privacy concerns, and executes a Seller Waiver (as deﬁned below).
         b. For purposes of these Standards, “public marketing” does not include if (i) the Listing is
             only shared between agents within the same brokerage and through 1:1 communication
             with clients represented by such agents, but not otherwise publicly marketed and (ii) the
             seller for such Listing has signed a waiver/opt-out form that speciﬁcally directs the listing



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          agent not to publicly market the Listing on websites and platforms accessible to the
          general public and includes suﬃcient information to allow the seller to consider the
          potential drawbacks of withholding it from the general public (“Seller Waiver”).
       c. For the avoidance of doubt, Listings displayed on the listing brokerage’s public facing
          website (or any other public-facing website) or a private listing network that is also
          accessible to consumers behind a registration wall are considered “publicly marketed”
          and must be made available to Zillow in accordance with these Standards.

5. .EDY%ECFB@7DI ,@HI@D>HT If a publicly marketed listing is not submitted in compliance with these
   Standards, we reserve the right in our sole discretion to not accept such Listing for display on the
   Zillow Sites (whether directly or through an MLS or other third party data feed) and / or other such
   listings from the brokerage.

6. #FFB@978@B@IN E< 0EB@9NV -,2 1JB;H. These Standards apply to Listings regardless of any
   applicable MLS rule, or any other local regulation or rule, that allows agents to publicly market an
   oﬀ-MLS listing for any period of time exceeding the one calendar day permitted in these
   Standards.




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                                               '5*+$+3 &
                                         6@BBEL ,@K@D> &7I787H;


Zillow has built and maintains a database of most of the homes in the US. We call this Zillow’s Living
Database of Homes. It is “living”, because, as new information becomes available to Zillow about a
property, we update the database to reﬂect the most current and accurate information. If the new
information is diﬀerent than the data we currently have in the living database we may update or
augment the records in our database. This new information may come from sources such as public
records, deed transfers, mortgage information, input by property owners or from the listing record
received from agents, brokers and MLSs. This database powers the Zillow websites, applications and
derivatives such as Zestimates, charts, tables and aggregated metrics.

Upon termination of this Agreement, Zillow will purge all records received directly from Provider,
including those retrieved from its third party service provider’s servers, but the updates made to Zillow’s
Living Database of Homes based on such records will remain.




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